Case 1:21-cv-11404-TLL-PTM ECF No. 79-3, PageID.1784 Filed 08/17/23 Page 1 of 15




                       Exhibit B
Case 1:21-cv-11404-TLL-PTM ECF No. 79-3, PageID.1785 Filed 08/17/23 Page 2 of 15




                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN

RICHARD PRATT and LARRY JONES,
                                                Case No. 21-cv-11404-TLL-PTM
individually and on behalf of all others
similarly situated,                             Hon. Thomas L. Ludington
                                                Mag. Judge Patricia T. Morris
                    Plaintiffs,


       v.

KSE SPORTSMAN MEDIA, INC.,


                    Defendant.

      [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL
     OF CLASS ACTION SETTLEMENT AGREEMENT, CERTIFYING
    SETTLEMENT CLASS, APPOINTING CLASS REPRESENTATIVES,
    APPOINTING CLASS COUNSEL, AND APPROVING NOTICE PLAN

       WHEREAS, a class action is pending before the Court entitled Pratt v. KSE

 Sportsman Media, Inc., Case No. 1:21-cv-11404-TLL-PTM; and

       WHEREAS, Plaintiffs Richard Pratt and Larry Jones and Defendant KSE

 Sportsman Media, Inc., have entered into a Class Action Settlement Agreement,

 which, together with the exhibits attached thereto, sets forth the terms and

 conditions for a proposed settlement and dismissal of the Action with prejudice as

 to Defendant upon the terms and conditions set forth therein (the “Settlement

 Agreement”), and the Court having read and considered the Settlement Agreement

 and exhibits attached to;


                                           1
Case 1:21-cv-11404-TLL-PTM ECF No. 79-3, PageID.1786 Filed 08/17/23 Page 3 of 15




       This matter coming before the Court upon the agreement of the parties, good

 cause being shown, and the Court being fully advised in the premises,

  IT IS HEREBY ORDERED, DECREED, AND ADJUDGED AS FOLLOWS:

       1.     Terms and phrases in this Order shall have the same meaning as

 ascribed to them in the Settlement Agreement.

       2.     The Parties have moved the Court for an order approving the

 settlement of the Action in accordance with the Settlement Agreement, which,

 together with the documents incorporated therein, sets forth the terms and

 conditions for a proposed settlement and dismissal of the Action with prejudice,

 and the Court having read and considered the Settlement Agreement and having

 heard the parties and being fully advised in the premises, hereby preliminarily

 approves the Settlement Agreement in its entirety subject to the Final Approval

 Hearing referred to in paragraph 5 of this Order.

       3.     This Court finds that it has jurisdiction over the subject matter of this

 action and over all Parties to the Action.

       4.     The Court finds that, subject to the Final Approval Hearing, the

 Settlement Agreement is fair, reasonable, and adequate, within the range of

 possible approval, and in the best interests of the Settlement Class defined below.

 The Court further finds that the Settlement Agreement substantially fulfills the

 purposes and objectives of the class action device, and provides substantial relief to



                                              2
Case 1:21-cv-11404-TLL-PTM ECF No. 79-3, PageID.1787 Filed 08/17/23 Page 4 of 15




 the Settlement Class without the risks, burdens, costs, or delay associated with

 continued litigation, trial, and/or appeal. The Court also finds that the Settlement

 Agreement (a) is the result of arm’s-length negotiations between experienced class

 action attorneys; (b) is sufficient to warrant notice of the settlement and the Final

 Approval Hearing to be disseminated to the Settlement Class; (c) meets all

 applicable requirements of law, including Federal Rule of Civil Procedure 23 and

 the Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1715; and (d) is not a

 finding or admission of liability by the Defendant or any other person, nor a

 finding of the validity of any claims asserted in the Action or of any wrongdoing or

 any violation of law.

 Final Approval Hearing

       5.     The Final Approval Hearing shall be held before this Court on

 ________________, at             . [suggested date of 90 days after entry of this

 Order] in Courtroom 206 at United States Post Office Building, 1000 Washington

 Avenue, Room 214, Bay City, MI 48708 to determine (a) whether the proposed

 settlement of the Action on the terms and conditions provided for in the Settlement

 Agreement is fair, reasonable, and adequate and should be given final approval by

 the Court; (b) whether a judgment and order of dismissal with prejudice should be

 entered; (c) whether to approve the payment of attorneys’ fees, costs, and expenses

 to Class Counsel; and (d) whether to approve the payment of an incentive award to



                                            3
Case 1:21-cv-11404-TLL-PTM ECF No. 79-3, PageID.1788 Filed 08/17/23 Page 5 of 15




 the Class Representative. The Court may adjourn the Final Approval Hearing

 without further notice to members of the Settlement Class.

       6.     Class Counsel shall file papers in support of their Fee Award and

 Class Representative’s Service Award (collectively, the “Fee Petition”) with the

 Court on or before _________ [suggested date of 52 days after entry of this Order,

 (i.e., 14 days before the Objection/Exclusion Deadline)]. Defendant may, but is

 not required to, file a response to Class Counsel’s Fee Petition with the Court on or

 before __________ [suggested date of 21 days before Final Approval hearing].

 Class Counsel may file a reply in support of their Fee Petition with the Court on or

 before _________ [suggested date of 14 days before Final Approval hearing].

       7.     Papers in support of final approval of the Settlement Agreement and

 any supplementation to the Fee Petition shall be filed with the Court on or before

 _________ [suggested date of 14 days before Final Approval hearing].

 Certification of the Settlement Class

       8.     For purposes of settlement only: (a) E. Powell Miller of The Miller

 Law Firm, P.C., Joseph I. Marchese and Philip L. Fraietta of Bursor & Fisher,

 P.A., and Frank S. Hedin and Arun G. Ravindran of Hedin Hall LLP are appointed

 Class Counsel for the Settlement Class; and (b) Richard Pratt and Larry Jones are

 named Class Representatives. The Court finds that these attorneys are competent

 and capable of exercising the responsibilities of Class Counsel and that Plaintiffs



                                           4
Case 1:21-cv-11404-TLL-PTM ECF No. 79-3, PageID.1789 Filed 08/17/23 Page 6 of 15




 Richard Pratt and Larry Jones will adequately protect the interests of the

 Settlement Class defined below.

       9.     For purposes of settlement only, the Court conditionally certifies the

 following Settlement Class as defined in the Settlement Agreement:

              The 14,503 direct purchasers whose information was
              included on the lists obtained in discovery that were
              transmitted to third parties between June 16, 2015 and
              July 30, 2016, and thus that have standing, which are
              reflected in the Class List, attached to the Settlement
              Agreement as Exhibit A. 1

       10.    The Court finds, subject to the Final Approval Hearing referred to in

 Paragraph 5 above, that the Settlement Agreement is fundamentally fair, adequate,

 and reasonable, and, solely within the context of and for the purposes of settlement

 only, that the Settlement Class satisfies the requirements of Rule 23 of the Federal

 Rules of Civil Procedure, specifically, that: the Settlement Class is so numerous

 that joinder of all members is impracticable; there are questions of fact and law

 common to the Settlement Class (e.g., whether Defendant unlawfully disclosed to

 third parties Plaintiffs’ and the Settlement Class’s Subscriber Information without



 1
   Excluded from the Settlement Class are (1) any Judge or Magistrate presiding
 over this Action and members of their families; (2) the Defendant, Defendant’s
 subsidiaries, parent companies, successors, predecessors, and any entity in which
 the Defendant or its parents have a controlling interest and their current or former
 officers, directors, agents, attorneys, and employees; (3) persons who properly
 execute and file a timely request for exclusion from the class; and (4) the legal
 representatives, successors or assigns of any such excluded persons.

                                           5
Case 1:21-cv-11404-TLL-PTM ECF No. 79-3, PageID.1790 Filed 08/17/23 Page 7 of 15




 consent in a manner that violated the Michigan Preservation of Personal Privacy

 Act, M.C.L. §§ 445.1712, et al. (“PPPA”), and whether Plaintiffs and the

 Settlement Class members are entitled to uniform statutory damages under the

 PPPA); the claims of the Class Representatives are typical of the claims of the

 members of the Settlement Class; the Class Representatives and Class Counsel will

 fairly and adequately protect the interests of the members of the Settlement Class;

 common questions of law or fact predominate over questions affecting individual

 members; and a class action is a superior method for fairly and efficiently

 adjudicating the Action.

        11.    If the Settlement Agreement does not receive the Court’s final

 approval, if final approval is reversed on appeal, or if the Settlement Agreement is

 terminated or otherwise fails to become effective, then the Court’s grant of class

 certification shall be vacated and the Class Representatives and the Settlement

 Class will once again bear the burden of establishing the propriety of class

 certification. In such case, neither the certification of the Settlement Class for

 settlement purposes, nor any other act relating to the negotiation or execution of

 the Settlement Agreement shall be considered as a factor in connection with any

 class certification issue(s).

 Notice and Administration

        12.    The Court approves, as to form, content, and distribution, the Notice



                                            6
Case 1:21-cv-11404-TLL-PTM ECF No. 79-3, PageID.1791 Filed 08/17/23 Page 8 of 15




 Plan set forth in the Settlement Agreement, including the Notice Plan, Claim Form,

 and all forms of Notice to the Settlement Class as set forth in the Settlement

 Agreement and Exhibits A, B, C, and D thereto, and finds that such Notice is the

 best notice practicable under the circumstances, and that the Notice complies fully

 with the requirements of the Federal Rules of Civil Procedure. The Court also

 finds that the Notice constitutes valid, due and sufficient notice to all persons

 entitled thereto, and meets the requirements of Due Process. The Court further

 finds that the Notice is reasonably calculated to, under all circumstances,

 reasonably apprise members of the Settlement Class of the pendency of this action,

 the terms of the Settlement Agreement, and the right to object to the settlement and

 to exclude themselves from the Settlement Class. In addition, the Court finds that

 no notice other than that specifically identified in the Settlement Agreement is

 necessary in this Action. The Parties, by agreement, may revise the Notice and

 Claim Form in ways that are not material, or in ways that are appropriate to update

 those documents for purposes of accuracy or formatting.

       13.    The Court approves the request for the appointment of JND Legal

 Administration as Settlement Administrator of the Settlement Agreement.

       14.    Pursuant to paragraph 4.1 of the Settlement Agreement, the

 Settlement Administrator is directed to publish the Notice and Claim Form on the

 Settlement Website and to send direct notice via U.S. Mail and email in accordance



                                            7
Case 1:21-cv-11404-TLL-PTM ECF No. 79-3, PageID.1792 Filed 08/17/23 Page 9 of 15




 with the Notice Plan called for by the Settlement Agreement. The Settlement

 Administrator shall also maintain the Settlement Website to provide full

 information about the Settlement and allow for the filing of claims online.

 Requests for Exclusion from Class

       15.    Any person falling within the definition of the Settlement Class may,

 upon valid and timely request, exclude themselves or “opt out” from the Class.

 Any such person may do so if, on or before the Objection/Exclusion Deadline of

 _________________ [suggested date of 66 days after entry of this Order] they

 comply with the exclusion procedures set forth in the Settlement Agreement and

 Notice. Any members of the Settlement Class so excluded shall neither be bound

 by the terms of the Settlement Agreement nor entitled to any of its benefits.

       16.    Any members of the Settlement Class who elect to exclude

 themselves or “opt out” of the Settlement Agreement must file a written request

 with the Settlement Administrator, received or postmarked no later than the

 Objection/Exclusion Deadline. The request for exclusion must comply with the

 exclusion procedures set forth in the Settlement Agreement and Notice and include

 the Settlement Class Member’s name and address, the title of the publication to

 which he or she is a subscriber, a signature, the name and number of the case, and

 a statement that he or she wishes to be excluded from the Settlement Class for the

 purposes of this Settlement. Each request for exclusion must be submitted



                                          8
Case 1:21-cv-11404-TLL-PTM ECF No. 79-3, PageID.1793 Filed 08/17/23 Page 10 of 15




  individually. So called “mass” or “class” opt-outs shall not be allowed.

        17.    Individuals who opt out of the Class relinquish all rights to benefits

  under the Settlement Agreement and will not release their claims. However,

  members of the Settlement Class who fail to submit a valid and timely request for

  exclusion shall be bound by all terms of the Settlement Agreement and the Final

  Judgment, regardless of whether they have requested exclusion from the

  Settlement Agreement.

  Appearances and Objections

        18.    At least twenty-one (21) calendar days before the Settlement Hearing,

  any person who falls within the definition of the Settlement Class and who does

  not request exclusion from the Class may enter an appearance in the Action, at

  their own expense, individually or through counsel of their own choice. Any

  Settlement Class Member who does not enter an appearance will be represented by

  Class Counsel.

        19.    Any members of the Settlement Class who have not timely filed a

  request for exclusion may object to the fairness, reasonableness, or adequacy of the

  Settlement Agreement or to a Final Judgment being entered dismissing the Action

  with prejudice in accordance with the terms of the Settlement Agreement, or to the

  attorneys’ fees and expense reimbursement sought by Class Counsel in the

  amounts specified in the Notice, or to the award to the Class Representative as set



                                            9
Case 1:21-cv-11404-TLL-PTM ECF No. 79-3, PageID.1794 Filed 08/17/23 Page 11 of 15




  forth in the Notice and Settlement Agreement. At least fourteen (14) days prior to

  the Objection/Exclusion Deadline, papers supporting the Fee Award shall be filed

  with the court and posted to the settlement website. Members of the Class may

  object on their own, or may do so through separate counsel at their own expense.

        20.    To object, members of the Class must sign and file a written objection

  no later than on or before the Objection/Exclusion Deadline of

  ______________________ [suggested date of 66 days after entry of this Order].

  To be valid, the objection must comply with the objection procedures set forth in

  the Settlement Agreement and Notice, and include the Settlement Class Member’s

  name and address; an explanation of the basis upon which he or she claims to be a

  Settlement Class Member, including the title of the publication to which he or she

  is or was a subscriber; a signature; all grounds for the objection, including all

  citations to legal authority and evidence supporting the objection; the name and

  contact information of any and all attorneys representing, advising, or in any way

  assisting him or her in connection with the preparation or submission of the

  objection or who may profit from the pursuit of the objection (the “Objecting

  Attorneys”); and a statement indicating whether he or she intends to appear at the

  Final Approval Hearing (either personally or through counsel who files an

  appearance with the Court in accordance with Eastern District of Michigan Local

  Rules). If a Settlement Class Member or any of the Objecting Attorneys has



                                            10
Case 1:21-cv-11404-TLL-PTM ECF No. 79-3, PageID.1795 Filed 08/17/23 Page 12 of 15




  objected to any class action settlement where the objector or the Objecting

  Attorneys asked for or received any payment in exchange for dismissal of the

  objection, or any related appeal, without any modification to the settlement, then

  the objection must include a statement identifying each such case by full case

  caption.

        21.    Members of the Class who fail to file and serve timely written

  objections in compliance with the requirements of this paragraph and the

  Settlement Agreement shall be deemed to have waived any objections and shall be

  foreclosed from making any objections (whether by appeal or otherwise) to the

  Settlement Agreement or to any of the subjects listed in paragraph 5, above, i.e. (a)

  whether the proposed settlement of the Action on the terms and conditions

  provided for in the Settlement Agreement is fair, reasonable, and adequate and

  should be given final approval by the Court; (b) whether a judgment and order of

  dismissal with prejudice should be entered; (c) whether to approve the payment of

  attorneys’ fees and expenses to Class Counsel; and (d) whether to approve the

  payment of a service award to the Class Representative.

        22.    To be valid, objections must be filed with the Court and sent to the

  following: Class Counsel E. Powell Miller of The Miller Law Firm, P.C., 950 W.

  University Drive, Suite 300, Rochester, MI 48307; and Defendant’s Counsel Kathy

  R. Neal, McAfee & Taft, P.C., Williams Center Tower II, Two West Second



                                           11
Case 1:21-cv-11404-TLL-PTM ECF No. 79-3, PageID.1796 Filed 08/17/23 Page 13 of 15




  Street, Suite 1100, Tulsa, OK 74103. In addition, any objections made by a Class

  member represented by counsel must be filed through the Court’s CM/ECF

  system.

  Further Matters

        23.    All further proceedings in the Action are ordered stayed until Final

  Judgment or termination of the Settlement Agreement, whichever occurs earlier,

  except for those matters necessary to obtain and/or effectuate final approval of the

  Settlement Agreement.

        24.    Members of the Settlement Class shall be bound by all determinations

  and judgments in the Action concerning the Action and/or Settlement Agreement,

  whether favorable or unfavorable.

        25.    The Court retains jurisdiction to consider all further applications

  arising out of or connected with the proposed Settlement Agreement. The Court

  may approve the Settlement, with such modifications as may be agreed to by the

  Parties, if appropriate, without further notice to the Class.

        26.    Any Settlement Class Member who does not timely and validly

  submit a claim: (a) shall be forever barred from participating in any distributions

  of the Settlement Fund; (b) shall be bound by the provisions of the Settlement

  Agreement and all proceedings, determinations, orders and judgments in the

  Action relating thereto, including, without limitation, the Judgment or Alternate



                                            12
Case 1:21-cv-11404-TLL-PTM ECF No. 79-3, PageID.1797 Filed 08/17/23 Page 14 of 15




  Judgment, if applicable, and the Releases provided for therein, whether favorable

  or unfavorable to the Class; and (c) shall forever be barred and enjoined from

  directly or indirectly filing, commencing, instituting, prosecuting, maintaining, or

  intervening in any action, suit, cause of action, arbitration, claim, demand, or other

  proceeding in any jurisdiction, whether in the United States or elsewhere, on their

  own behalf or in a representative capacity, that is based upon or arises out of any or

  all of the Released Claims against any of the Defendant and the other Released

  Parties, as more fully described in the Settlement Agreement.

        27.    If the Settlement Agreement is not approved by the Court in complete

  accordance with its terms, each party will have the option of having the Action

  revert to its status as if the Settlement Agreement had not been negotiated, made,

  or filed with the Court. In such event, the parties will retain all rights as if the

  Settlement Agreement was never agreed upon.

        28.    In the event that the Settlement Agreement is terminated pursuant to

  the provisions of the Settlement Agreement or for any reason whatsoever the

  approval of it does not become Final then (i) the Settlement Agreement shall be

  null and void, including any provision related to the award of attorneys’ fees, and

  shall have no further force and effect with respect to any party in this Action, and

  shall not be used in this Action or in any other proceeding for any purpose; (ii) all

  negotiations, proceedings, documents prepared, and statements made in connection



                                             13
Case 1:21-cv-11404-TLL-PTM ECF No. 79-3, PageID.1798 Filed 08/17/23 Page 15 of 15




  therewith shall be without prejudice to any person or party hereto, shall not be

  deemed or construed to be an admission by any party of any act, matter, or

  proposition, and shall not be used in any manner or for any purpose in any

  subsequent proceeding in this Action or in any other action in any court or other

  proceeding, provided, however, that the termination of the Settlement Agreement

  shall not shield from subsequent discovery any factual information provided in

  connection with the negotiation of this Settlement Agreement that would ordinarily

  be discoverable but for the attempted settlement; (iii) other than as expressly

  preserved by the Settlement Agreement in the event of its termination, the

  Settlement Agreement shall have no further force and effect with respect to any

  party and shall not be used in the Action or any other proceeding for any purpose;

  and (iv) any party may elect to move the Court pursuant to the provisions of this

  paragraph, and none of the non-moving parties (or their counsel) shall oppose any

  such motion.



  IT IS SO ORDERED, this ______ day of _______________, 2023.



                            ___________________________________
                            The Honorable Thomas L. Ludington
                            United States District Judge




                                           14
